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 4
     Attorney for Defendant
 5   LUP PARK LI

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 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                       )         No. CR 2:07-CR-0025 EJG
                                                     )
11                    Plaintiff,                     )         ORDER PURSUANT TO
                                                     )         STIPULATION CONTINUING
12             vs.                                   )         SENTENCING HEARING
                                                     )
13   LUP PARK LI; JOYCE WANG,                        )
                                                     )
14                    Defendant.                     )
                                                     )
15

16             Based on the below stipulation between the parties,

17             IT IS HEREBY ORDERED that the sentencing hearing in this case for defendants Lup

18   Park Li and Joyce Wang is continued from June 15, 2011, to November 18, 2011, at 10:00 a.m.,

19   in Courtroom 8.

20   DATED: June 8, 2011                            /s/ Edward J. Garcia
                                                    EDWARD J. GARCIA
21                                                  JUDGE, UNITED STATES DISTRICT COURT

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     ORDER/STIP CONTINUING SENTENCING
     CR 2:07-CR-0025 EJG                                 -1-
        Case 2:07-cr-00025-WBS Document 342 Filed 06/08/11 Page 2 of 2


 1                          STIPULATION TO CONTINUE SENTENCING

 2           It is hereby stipulated by and between the parties that the sentencing hearing may be

 3   continued from June 15, 2011, to November 18, 2011, at 10:00 a.m., in Courtroom 8, Hon.

 4   Edward J. Garcia, judge presiding.

 5           The Probation Officer, Thomas H. Brown, has represented that he does not object to this

 6   continuance.

 7   DATED: June 6, 2011                   /s/ Geoffrey Rotwein
                                                  GEOFFREY ROTWEIN
 8                                                Attorney for Defendant
                                                  LUP PARK LI
 9

10   DATED: June 6, 2011                   /s/ Gilbert Eisenberg
                                                   GILBERT EISENBERG
11                                                 Attorney for Defendant
                                                   JOYCE WANT
12

13   DATED: June 6, 2011                          BENJAMIN B. WAGNER
                                                  United States Attorney
14
                                              By: /s/ Heiko P. Coppola
15                                               HEIKO P. COPPOLA
                                                 Assistant United States Attorney
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     ORDER/STIP CONTINUING SENTENCING
     CR 2:07-CR-0025 EJG                             -2-
